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 UNITED STATES DISTRICT COURT
 WESTERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,

                                                                         Hon. Hugh B. Scott

                                                                             07CR00245S
                                v.
                                                                             Report &
                                                                          Recommendation


 MONAE DAVIS et al.,
                                 Defendants.


       Several defendants in this matter filed written omnibus motions seeking various forms of

relief. During oral argument on June 30, 2008, counsel on behalf of Raheim Howell and Ryan

Potter made oral applications to join in the motion filed by defendant John A. Lee. The Report &

Recommendation filed July 30, 2008 dealing with the respective motions filed in this case does

not reflect that the oral applications were made. The oral motions on behalf of defendants Howell

and Potter to join in the motion filed by defendant Lee should be denied for the reasons set forth

in the July 30, 2008 Report & Recommendation.

       Pursuant to 28 U.S.C. §636(b)(1), it is hereby ordered that this Report &

Recommendation be filed with the Clerk of the Court and that the Clerk shall send a copy of the

Report & Recommendation to all parties.

       ANY OBJECTIONS to this Report & Recommendation must be filed with the Clerk

of this Court within ten(10) days after receipt of a copy of this Report & Recommendation

in accordance with 28 U.S.C. §636(b)(1), Rules 6(a), 6(e) and 72(b) of the Federal Rules of

Civil Procedure, as well as W.D.N.Y. Local Rule 72(a)(3).

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       FAILURE TO FILE OBJECTIONS TO THIS REPORT & RECOMMENDATION

WITHIN THE SPECIFIED TIME, OR TO REQUEST AN EXTENSION OF TIME TO

FILE OBJECTIONS, WAIVES THE RIGHT TO APPEAL ANY SUBSEQUENT ORDER

BY THE DISTRICT COURT ADOPTING THE RECOMMENDATIONS CONTAINED

HEREIN. Thomas v. Arn, 474 U.S. 140, 106 S.Ct. 466, 88 L.Ed2d 435 (1985); F.D.I.C. v.

Hillcrest Associates, 66 F.3d 566 (2d. Cir. 1995); Wesolak v. Canadair Ltd., 838 F.2d 55 (2d Cir.

1988); see also 28 U.S.C. §636(b)(1), Rules 6(a), 6(e) and 72(b) of the Federal Rules of Civil

Procedure, and W.D.N.Y. Local Rule 72(a)(3).

       Please also note that the District Court, on de novo review, will ordinarily refuse to

consider arguments, case law and/or evidentiary material which could have been, but was not,

presented to the Magistrate Judge in the first instance. See Patterson-Leitch Co. Inc. v.

Massachusetts Municipal Wholesale Electric Co., 840 F.2d 985 (1st Cir. 1988).

       Finally, the parties are reminded that, pursuant to W.D.N.Y. Local Rule 72.3(a)(3),

“written objections shall specifically identify the portions of the proposed findings and

recommendations to which objection is made and the basis for such objection and shall be

supported by legal authority.” Failure to comply with the provisions of Rule 72.3(a)(3)may

result in the District Court’s refusal to consider the objection.

        So Ordered.



                                                              / s / Hugh B. Scott
                                                        United States Magistrate Judge
                                                        Western District of New York
Buffalo, New York
September 23, 2008


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